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1    McGREGOR W. SCOTT
     United States Attorney
2    WILLIAM S. WONG
     JASON HITT
3    Assistant U.S. Attorneys
     501 I Street, Suite 10-100
4    Sacramento, California 95814
     Telephone: (916) 554-2700
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7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       2:96-CR-00350-WBS
                                      )
12             Plaintiff,             )       STIPULATION FOR EXPEDITED
                                      )       SETTLEMENT AGREEMENT
13        v.                          )       AND ORDER THEREON
                                      )
14   HUY CHI LUONG,                   )
          aka "Jimmy Luong",          )
15        aka "Chi Fei", et al.       )
                                      )
16             Defendants.            )
                                      )
17                                    )
     WORLD SAVINGS BANK, FSB,         )
18                                    )
               Petitioner.            )
19                                    )
20        IT IS HEREBY STIPULATED by and between plaintiff United States
21   of America and petitioner World Savings Bank, FSB to compromise and
22   settle its interest in the following property (hereafter, the
23   "Property"):
24             Real property located in Sacramento County at
               8853 Dorington Court, Elk Grove, California,
25             Assessor’s Parcel Number 116-0820-009-00 and
               more fully described in Exhibit A attached
26             hereto.
27        This stipulated settlement is entered into between the parties
28   pursuant to the following terms:

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1         1.   The parties to this Agreement hereby stipulate that World
2    Savings Bank, FSB had a prior vested or superior interest in the
3    Property or was a bona fide purchaser for value of the right, title,
4    or interest in the Property.
5         2.   The United States agrees that upon entry of a Final Order
6    of Forfeiture forfeiting the Property to the United States and sale
7    of the Property pursuant to the Final Order of Forfeiture, the
8    United States will not contest payment to World Savings Bank, FSB
9    from the proceeds of sale, after payment of outstanding taxes and
10   expenses incurred by the U.S. Department of Treasury in connection
11   with its custody and sale of the Property, of the following:
12              a.   All unpaid principal due to the Petitioner under
13                   the Deed of Trust recorded in Sacramento County,
14                   California, in Book 95-05-26, Page 97, and dated
15                   May 15, 1995 and recorded on May 26, 1995.         Said
16                   Deed of Trust secured a promissory note in the
17                   original amount of $125,000.00 dated May 15,
18                   1995.   As of January 17, 2007, the principal
19                   balance due and owing on the Note was
20                   $93,585.70, together with accrued interest,
21                   including, but not limited to, insurance
22                   premiums and property taxes, if any, advanced
23                   under the terms of the Deed of Trust.
24              b.   All unpaid interest at the contractual base rate (not
25                   the default rate) under the above Deed of Trust, as
26                   of January 17, 2007 interest is 6.827% per annum,
27                   until the date of payment.
28              c.   Reasonable attorney's fees not to exceed $2,000.00.

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1               d.   A total fee of not more than $200 to process a
2                    beneficiary demand statement and to record a
3                    reconveyance of the deed of trust.
4               e.   The exact amount to be paid to World Savings Bank,
5                    FSB shall be determined at the time of payment, but
6                    shall not be less than the amounts set forth above.
7         3.   The payment to Petitioner World Savings Bank, FSB shall be
8    in full settlement and satisfaction of all claims by World Savings
9    Bank, FSB to the Property indicted by the United States on or about
10   August 2, 1996 and of all claims arising from and relating to the
11   seizure, detention, and forfeiture of the Property.         The payment to
12   World Savings Bank, FSB shall not include any penalty payments,
13   including any prepayment penalties.
14        4.   Upon payment, World Savings Bank, FSB agrees to assign and
15   convey its security interest to the United States via recordable
16   documents and to release and hold harmless the United States, and
17   any agents, servants, and employees of the United States (and any
18   involved state or local law enforcement agencies and their agents,
19   servants, or employees), in their individual or official capacities,
20   from any and all claims by World Savings Bank, FSB and its agents
21   that currently exist or that may arise as a result of the
22   Government’s actions against and relating to the Property.          As
23   against the United States and its agents, Petitioner World Savings
24   Bank, FSB agrees to waive the provisions of California Civil Code §
25   1542, which provides: "A general release does not extend to claims
26   which the creditor does not know or suspect to exist in his favor at
27   the time of executing the release, which if known by him must have
28   materially affected his settlement with the debtor."

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1         5.   Petitioner World Savings Bank, FSB agrees not to pursue
2    against the United States any other rights that it may have under
3    the mortgage instrument, including but not limited to the right to
4    foreclose upon and sell the Property during the pendency of this
5    proceeding or any post-forfeiture proceeding relating to the
6    marketing and sale of the property, and any right to assess
7    additional interest or penalties except as specifically allowed
8    herein.
9         6.   Petitioner understands and agrees that by entering into
10   this expedited settlement of its interest in the Property, it waives
11   any rights to litigate further its interest in the Property and to
12   petition for remission or mitigation of the forfeiture.         Thereafter,
13   if this Agreement is approved by the Court, then unless specifically
14   directed by an order of the Court, World Savings Bank, FSB shall be
15   excused and relieved from further participation in this action.
16        7.   Petitioner understands and agrees that the United States
17   reserves the right to void the expedited settlement agreement if,
18   before payment of the mortgage or lien, the U.S. Attorney obtains
19   new information indicating that the mortgagee or lien holder is not
20   an "innocent owner" or "bona fide purchaser" pursuant to the
21   applicable forfeiture statutes.      The U.S. Attorney also reserves the
22   right, in its discretion, to terminate the forfeiture at any time
23   and release the Property.     In either event, the Government shall
24   promptly notify the mortgagee or lien holder of such action.            A
25   discretionary termination of forfeiture shall not be a basis for any
26   award of fees.
27        8.   The parties agree to execute further documents, to the
28   extent necessary, to convey clear title to the Property to the

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1    United States and to implement further the terms of this settlement.
2    Each party agrees to bear its own costs and attorneys’ fees, except
3    as otherwise set forth herein.
4          9.    Payment to the Petitioner pursuant to this settlement
5    agreement is contingent upon a forfeiture of the Property to the
6    United States, the United States’ prevailing against any third
7    parties alleging claims in an ancillary proceeding, and the Court’s
8    entry of a Final Order of Forfeiture.         Further, the terms of this
9    settlement agreement shall be subject to approval by the United
10   States District Court.      Violation of any term or condition herein
11   shall be construed as a violation of an order of the Court.
12         10.   Counsel for World Savings Bank, FSB represents that she
13   has authority to enter into this stipulation on behalf of her
14   principal.
15   DATED: February 27, 2007                   McGREGOR W. SCOTT
                                                United States Attorney
16
17                                              /s/ William S. Wong
                                                WILLIAM S. WONG
18                                              Assistant U.S. Attorney
19
20   DATED: 2-26-07                             /s/ Sharon C. Dutton
                                                SHARON C. DUTTON
21                                              Attorney for World Savings Bank,
                                                FSB
22                                              (Original signature retained by
                                                attorney)
23
24                                        ORDER
25         The Court having received, read, and considered the foregoing
26   stipulation of the parties, and good cause appearing therefrom, the
27   ///
28   ///

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1    Stipulated Expedited Settlement is hereby APPROVED.         It is so
2    ORDERED.
3    DATED:   February 28, 2007
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1                              EXHIBIT A
                 (8853 Dorington Court, Elk Grove, CA)
2
                           Property Description
3
4    All that certain real property in the County of
     Sacramento, State of California, described as follows:
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     Lot 9, as shown on the Plat of "Camdon Passage East",
6    according to the Official Plat thereof, filed in the
     Office of the Recorder of Sacramento County, in Book 210
7    of Maps, Map No. 7.
8    EXCEPTING THEREFROM all oil, gas asphaltum, minerals and
     other hydrocarbon substances in or on said land below a
9    depth of 500 feet from the surface of said land. Together
     with the right to produce, develop, explore and extract
10   said substances, but without the right of entry on the
     surface of said land or within 500 feet from the surface
11   of said land.
12   APN: 116-0820-009-00
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